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21-CR-082 (ADC)
USA v. García-Jimenez et al



                                                                                    Hearing set for 3:30 PM
                                                                                    Hearing start 3:30 PM
                                                                                    Hearing ended 3:43 PM



                                    UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF PUERTO RICO



MINUTES OF PROCEEDINGS:

HONORABLE AIDA DELGADO COLON, U.S. DISTRICT JUDGE

COURTROOM DEPUTY: Cristina Dones Taylor                                    Date: March 29, 2022
Court Reporter: Amy Walker                                                 Case: 21-cr-082 (ADC)


                                                                   Attorneys:

UNITED STATES OF AMERICA                                   AUSA Myriam Fernández
                  v.

(1) Eugenio Garcia-Jimenez                                 AFPD Carlos A. Vázquez
(2) Stephen Kirkland                                       Laura Maldonado, Esq. substituted by Giovanni Canino
(3) Steve Minger                                           Giovani Canino, Esq.
(4) Alejandro Riera-Fernandez                              Diego Alcalá, Esq.
(5) Joseph Kirkland                                        Benito I. Rodríguez, Esq.
(6) Arnaldo J. Irizarry-Irizarry                           Juan E. Alvarez, Esq.
(7) Roberto Mejill-Tellado                                 Carlos J. Andreu, Esq.

Case called for Pretrial Conference:

The Government informed the Court there is no pending discovery and plea offers have been tendered. Parties
are engaged in plea negotiations; the Government is open to consider counteroffers. The Government
estimates 3 weeks of trial, approximately 30 witnesses (25 fact witnesses, 1 or 2 experts and bank record
custodians). Plea offers available until 45 days prior to trial.

The parties informed the following as to each defendant:

Eugenio Garcia-Jimenez (1): Discovery has been reviewed with the defendant. A counteroffer will be sent to
the Government. Additional time was requested.

Stephen Kirkland (2): The defendant has filed a COP motion. Hearing will be set for 5/13/2022. Motions at
dockets [146] and [147] are granted.

Steve Minger (3): Plea negotiations are ongoing. A counteroffer will be tendered to the Government. Parties
are close to reaching an agreement.

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Alejandro Riera-Fernandez (4): Plea negotiations are ongoing. A counteroffer has been tendered to the
Government. A respond is due by 4/01/2022.

Joseph Kirkland (5): Defense counsel stated that since a joint defense is now no longer feasible, they will
make a determination on how they will move forward.

Arnaldo J. Irizarry-Irizarry (6): Defense counsel will meet with the Government within 10 days and will
inform the Court as to how they will proceed.

Roberto Mejill-Tellado (7): Parties held a meeting 2 weeks ago. A final offer was received, and it is being
considered. Parties are close to reaching an agreement.


After having heard the parties, the Court set the following settings and deadlines:

    1- Parties are granted until 4/29/20232 to conclude plea negotiations.
    2- Change of Plea motions due by 5/13/2022.
    3- Possible Jury Trial setting: 7/11/2022 to 7/29/2022, alternate date 9/5/2022 to 9/30/2022. The same
       will be set on the next pretrial conference.

Pretrial conference is set for May 17, 2022, at 1:00 PM via VTC.




                                                                           S/ Cristina Dones-Taylor
                                                                           Courtroom Deputy Clerk for
                                                                           U.S. District Judge Aida M. Delgado Colón




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